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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                             :
                                                     :
                                                     :
               v.                                    :       Crim. No.: 24-CR-406 (RC)
                                                     :
                                                     :
TRAYON WHITE, SR.                                    :
                                                     :
                                                     :
                              Defendant.             :


              PARTIES’ JOINT MOTION TO CANCEL STATUS HEARING

       When the parties were last in court addressing the schedule for this matter, the Court

scheduled a status hearing for January 25, 2025. Inasmuch as the schedule for this matter has been

finalized, the parties ask that the Court cancel the January 7, 2025 Status Conference.



                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             United States Attorney
                                             D.C. Bar No. 481052

                                             _______/s/____________
                                             John Crabb Jr.
                                             N.Y. Bar No. 2367670
                                             Rebecca G. Ross
                                             N.Y. Bar No. 5590666
                                             601 D Street, N.W.
                                             Washington, D.C. 20530
                                             john.d.crabb@usdoj.gov
                                             (202) 252-1794
